17-51045-cag Doc#22-1 Filed 06/21/17 Entered 06/21/17 17:22:24 Exhibit 1 Pg 1 of 1



                               Entities Included in The Henry Group



Gary Henry                                           Nb Henry Group Partners, Ltd.

Jeff Henry                                           North Padre Wph Gp, LLC

Henry and Sons Construction Company, Inc.            Pop-Eye Olilve-Oyl, LLC

North Padre WaterPark Holdings, Ltd.                 Schlitterbahn Beach Resort Management,
                                                     LLC
Wind, Water & Waves LLC
                                                     Schlitterbahn  Np           Water         Resort
Arrowhead Minerals, Inc.                             Management, LLC

Bad-Schloss, Inc.                                    Spi Brwp Holdings, LLC

Convertible Structures, Inc.                         Torrey Street Mini-Storage, Inc.

Enterprize Management, Inc.                          Water Ride Concepts, Inc.

Faber, Henry and Associates, Inc.                    Waterpark Management, Inc.

Galpark, LLC

Galveston Waterpark Management, Inc.

Garden Villa Homeowners Association, Inc.

Golden Seal Investments, Inc.

Henry Condo I, Ltd.

Henry, Schooley & Associates, L.L.C.

Henry-Glas, Ltd.

Hospitality and Visitors Association

Hotel Waterpark, Gp, LLC

Jrps, LLC

Landa Resort, Inc.

Liberty Partnership, Ltd.

Nb Development, Inc.



56380092.1                                     -1-
                                                                          IslandWalk Exhibit IW-1-000001
